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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)

 Gillman, Bruton & Capone, LLC
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 Spring Lake Heights, NJ 07762
 (732) 528-1166
 Attorney for Debtor-In-Possession
 By: Marc C. Capone, Esq.

                                                      Case No.: 24-16283
 In Re:
                                                      Judge:    John K. Sherwood
 Jean-Paul and Lisa A. Romes
                                                      Chapter: 11
                               Debtors



                         NOTICE RE: TELEPHONIC §341 MEETING


          PLEASE TAKE NOTICE that the Chapter 11 §341 creditors meeting presently

scheduled to take place at the offices of the United States Trustee in Newark, New Jersey on July

31, 2024 shall instead take place July 31, 2024 by conference call commencing at 9:00 AM EDT.

If you wish to participate, please call #732-372-4931 and use access code 4277060.

          YOUR PARTICIPATION IS WELCOMED, BUT NOT REQUIRED.



Dated: July 26, 2024                               /s/ Marc C. Capone______
                                                   MARC C. CAPONE, ESQ.
                                                   Gillman, Bruton & Capone, LLC
                                                   Attorney for Debtor-In-Possession




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